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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

 The State of Texas, et al.,

                     Plaintiffs,
                                              Case No. 4:20-cv-00957-SDJ
 v.
                                              Hon. Sean D. Jordan
 Google LLC,

                     Defendants.

 PLAINTIFFS’ POSITION ON POTENTIAL APPOINTMENT OF DAVID T.
                  MORAN AS SPECIAL MASTER

      Plaintiff States (the “States”) respectfully submit the following in response to

the Court’s Order on whether the parties have any concerns or objections to the

potential appointment of Mr. David T. Moran of Jackson Walker LLP to serve as

Special Master in this case. See Dkt. 195.

      The States believe that appointing a Special Master will greatly assist the

parties in resolving discovery disputes in this case and helping the case move in a

timely manner. The States support the candidate that will be most helpful to the

Court in this case, and accordingly, have no concerns or objections to the Court’s

appointment of Mr. Moran as Special Master in this case.




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Dated: January 9, 2024

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                           CERTIFICATE OF SERVICE

      I certify that on January 9, 2024, this document was filed electronically in

compliance with Local Rule CV-5(a) and served on all counsel who have consented to

electronic service, per Local Rule CV-5(a)(3)(A).

                                               /s/ W. Mark Lanier
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